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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


MICHAEL KEY; JOHN DOE 1; JOHN
DOE 2,

                  Plaintiffs,
                                              CIVIL ACTION FILE NO.:
            v.
                                              ______________________
MOREHOUSE COLLEGE, a domestic, not-
for-profit Corporation, MOREHOUSE
COLLEGE BOARD OF TRUSTEES;
JOHN SILVANUS WILSON, JR.,
Individually and in his capacity as former
President of Morehouse College; DAVID A.
THOMAS, individually and in his capacity
as President of Morehouse College;
MAURICE WASHINGTON, individually,
and as Associate Vice President for Student
Services and the Dean of College at
Morehouse College; MICHAEL HODGES,
individually, and Senior Vice President and
Provost of Academic Affairs at Morehouse
College; JOY WHITE, individually, and as
Vice President of Legal Affairs and Chief
Compliance Officer of Morehouse College;
DEMARCUS K. CREWS, individually, and
as Interim Director of Housing and
Residential Education of Morehouse
College; QUISHA BUGGS, individually,
and as Resident Advisor for Morehouse
College; JOSHUA L. TROUTMAN,
individually, and as Associate Coordinator
of Resident Education for Morehouse
College; TERRAINE L. BAILEY,
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individually and in her capacity as Title IX
Coordinator and Compliance Specialist of
Morehouse College; SHAWN MOORE,
individually, and as Associate Coordinator
of Resident Education; BRITTANY
MAXWELL, individually, and as Dean of
Dubois House and Douglas Hall at
Morehouse College; SOPHIA BRELVI,
individually, and as Title IX Coordinator of
Morehouse College; MAYNARD
SCARBOROUGH, individually, and as OIA
Officer at Morehouse College; and
MICHAEL SMITH, individually, and as
Dean of King Chapel at Morehouse College,

                   Defendants.


                            NOTICE OF REMOVAL

      Defendants Morehouse College, Morehouse College Board of Trustees, and

David A. Thomas (collectively, the “College Defendants”), through counsel, hereby

file this Notice of Removal pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446.

The grounds for removal are as follows:

      1.     Plaintiffs Michael Key, John Doe 1, and John Doe 2 commenced this

action against Defendants by filing a Complaint for Damages and Demand for Jury

Trial in the Superior Court of Fulton County, Georgia on June 29, 2020. A copy of

Plaintiffs’ Complaint is attached hereto as Exhibit A. No other process, pleadings,

or orders were served on the College Defendants in this action; however, the College


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Defendants also include in their Exhibit A copies of all filings to date in the action

now pending in the Superior Court of Fulton County, Georgia.

        2.      The College Defendants accepted service of the Complaint on July 14,

2020.

        3.      To the College Defendants’ knowledge, no other Defendant has been

served in the state court action.

        4.      The state court action is captioned Michael Key et al. v. Morehouse

College et al., Civil Action File No. 2020CV337757, Superior Court of Fulton

County, Georgia.

        5.      The Complaint sets forth a claim arising under the laws of the United

States.      Plaintiffs assert, among other claims, that they each individually and

separately were discriminated against in violation of Title IX of the Education

Amendments of 1972, 20 U.S.C. §§ 1681 et seq. (See Ex. A Pls.’ Compl. ¶¶ 64-73.)

        6.      All Defendants properly served in this action have filed this Notice

within the time limit set forth in 28 U.S.C. § 1446(b) and consent to the removal of

this action.

        7.      Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over

a civil action arising under the laws of the United States. Plaintiffs’ civil action is

properly removed to this Court pursuant to 28 U.S.C. § 1441 because this Court is


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located in the district and division embracing the place where the state court action

is pending.

      8.      In addition, 28 U.S.C. § 1367(a) provides that “in any civil action of

which the district courts have original jurisdiction, the district courts shall have

supplemental jurisdiction over all other claims that are so related to claims in the

action within such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution.”

      9.      This Court possesses supplemental jurisdiction over each Plaintiff’s

state law claims because those claims share common nuclei of operative facts with

each Plaintiff’s individual claims against the College Defendants brought under

federal law. Moreover, the disposition of each Plaintiff’s individual state law claims

will involve the same or similar evidence and information as their individual Title

IX claims and the circumstances related to and actions undertaken in connection

therewith.

      10.     A true and correct copy of this Notice is being filed promptly with the

Clerk of the Superior Court of Fulton County, Georgia pursuant to 28 U.S.C.

§ 1446(d).




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      11.     Written notice of the filing of this Notice will be served promptly on

counsel for all adverse parties, pursuant to 28 U.S.C. § 1446(d), as reflected in the

attached Certificate of Service.

      12.     By removing this action from the Superior Court of Fulton County,

Georgia, the College Defendants do not waive any defenses available to them.

      13.     By removing this action from the Superior Court of Fulton County,

Georgia, the College Defendants do not admit any of the allegations in the

Complaint.

      WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446,

Defendants Morehouse College, Morehouse College Board of Trustees, and David

A. Thomas respectfully remove this civil action from the Superior Court of Fulton

County, Georgia to the United States District Court for the Northern District of

Georgia, Atlanta Division.


      This 14th day of July, 2020.

                                       Respectfully submitted,

                                       HOLLAND & KNIGHT LLP


                                       s/ Joshua I. Bosin
                                       Joshua I. Bosin
                                       Georgia Bar No. 143054
                                       Regions Plaza, Suite 1800

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                          Of Counsel

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                          Counsel for Defendants
                          Morehouse College, Morehouse College
                          Board of Trustees, and David A. Thomas




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date I have electronically filed the foregoing

NOTICE OF REMOVAL with the Clerk of Court using the CM/ECF system and

served the same upon counsel for Plaintiffs via electronic mail and United States

First Class Mail properly addressed as follows:


                            Tiffany Simmons, Esq.
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      This 14th day of July, 2020.

                                            s/ Joshua I. Bosin
                                            Joshua I. Bosin
                                            Georgia Bar No. 143054
